Case 2:04-cr-20050-SH|\/| Document 103 Filed 05/12/05 Page 1 of 3 Page|D 168

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

Plaintiff,
v. CR. NO. O4-20050-Ma
CAL\/'IN RICHMOND ,

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Calvin Richmond, having been sentenced in the
above case to the custody of the Bureau of Prisons and having been
granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to
Federal Correctional Institution-Forrest City, P.O. Box 7000, Forrest
City, Arkansas 72335, no later than 2:00 p.m. on Tuesday, May 31,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order
the defendant shall report immediately to the Office of the Clerk,
Federal Office Building, l67 IC. Main Street, Romn 242, Memphis,
Tennessee 38103 to acknowledge by signature receipt of a copy of
this Order and that the defendant Will report as ordered to the
facility named above.

ENTERED this the ll ` day of Mayr 2005.
M¢W-~

!"`m's documentem’rered Onthe docketzgeet;}j-|gor‘rlpgigncg SAMUEL [-1_ MAYS, JR_
W'W‘WS 55 anfi/’OrSZ(b)FHch on d'/ 'QJ UNITED sTATEs DISTRICT JUDGE jj

 

Case 2:04-cr-20050-SH|\/| Document 103 Filed 05/12/05 Page 2 of 3 Page|D 169

-'U~;¢ZUOZJ'ME]

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITsED`ATES ISTRICT COURT - WEERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:04-CR-20050 Was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

